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                                    UNITED STATES BANKRUPTCY COURT,SOUTHERN DISTRICT OF FLORIDA

                                                                www.flsb.uscourts.gov
                                                    CHAPTER 13 PLAN gndividual Adjustment of Debts)
                             □                                           Original Plan
                             0 FIRST                                     Amended Plan (Indicate 1st, 2nd, etc. Amended,if applicable)
                             □                                           Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

    DEBTOR: AVA CELESTE BENJAMIN                            JOINT DEBTOR:                                         CASE NO.: 22-11124-AJC
    SS#: xxx-xx- 3669                                          SS#: xxx-xx-
    I.          NOTICES
                To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                     modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                     Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                     the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                To Creditors:        Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                     be reduced, modified or eliminated.
                To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                    on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                  0     Included        (~l   Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                  r~| Included          0 Not included
         out in Section III
      Nonstandard provisions, set out in Section IX                                                               I I   Included        0     Not included
    II.     PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY'S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.   $1,401.68            for months    1    to 60      ;

                B. DEBTORfSV ATTORNEY'S FEE;                                              □ NONE    □ PRO BONO
             Total Fees:              $5,700.00           Total Paid:               $2,487.00        Balance Due:           $3,213.00

             Payable _           $269.21          /month (Months     1    to 11 )

             Payable _           $251.69          /month (Months 12 to 12 )
             Allowed fees under LR 2016-I(B)(2) are itemized below:
             Jose A. Blanco, Esq.: $4,500 Attorneys Fees + $525 Motion to Value + $525 Motion to Value + $150 Cost = $5,700.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    HI.         TREATMENT OF SECURED CLAIMS                         □ NONE
                A. SECURED CLAIMS!                □ NONE
                [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
              1. Creditor: tiaA FSB
                  Address: 301 West Bay Street                 Arrearage/ Payoff on Petition Date    $14,956.44
                           Jacksonville, FL 32202                                                              $50.00      /month (Months     1    to 11 )
                                                               Arrears Payment (Cure)
                                                               Arrears Payment (Cure)                          $64.52      /month (Months     12   to 12 )
              Last 4 Digits of
              Account No.:                 7172                Arrears Payment (Cure)                         $298.79      /month (Months     13   to 60 )
                                                                Regular Payment (Maintain)                    $848.79      /month (Months     1    to 60 )

             Other:


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       @ Real Property                                                         Check one below for Real Property:
                 [BjPrincipal Residence                                       [^Escrow is included in the regular payments

                  I [Other Real Property                                       QThe debtor(s) will pay     Qtaxes | [insurance directly
           Address of Collateral:
           2246 NW 61 Street, Miami, FL 33142


       I    I Personal PropertyA^ehicle

           Description of Collateral;

                B. VALUATION OF COLLATERAL: □ NONE
                    IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                    SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                    YOU PURSUANT TO BR 7004 AND LR 3015-3.

                    1. REAL PROPERTY: [f] NONE

                    2. VEmCLES(S):         □ NONE

           I. Creditor: Lugano Capital Inc             Value of Collateral:              $3,000.00                         Payment
                        dba Start Auto Finance Corp.
                                                       Amount of Creditor's Lien:        $9,727.89       Total paid in plan:         $3,254.40
                        c/o Sobhan Arafa, CEO

                 Address: 6600 Taft Street, Ste 200
                          Hollywood, FL 33024          Interest Rate;       3.25%                             $54.24     /month (Months     1 to 60 )



           Last 4 Digits of Account No.: 5205
           VIN: JNKAJ09E18M304148

           Description of Collateral;
           2008 Infiniti Ex35 Sport Utility



           Check one below:

           j—iClaim incurred 910 days or more pre-
           '—'petition
           I—iClaim incurred less than 910 days pre-
           '—'petition
           2.    Creditor: Innovate Loan Service       Value of Collateral:               $500.00                          Payment

                 Address: 2201 Dottie Lynn Parkway     Amount of Creditor's Lien:        $5,905.22       Total paid in plan:         $542.40
                        'Ft. Worth, TX 76120

           Last 4 Digits of Account No.: 1934          Interest Rate:       3.25%                             $9.04      /month (Months     I to 60 )

           VIN: 1N4AL2AP0CN463868

           Description of Collateral:
           2012 Nissan Altima S



           Check one below:

           ^Claini incurred 910 days or more pre-
           '—'petition
           I—iClaim incurred less than 910 days pre-
           '—'petition

                    3. PERSONAL PROPERTY: 0 NONE

                C. LIEN AVOIDANCE          [f] NONE


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                                                                          Debtor(s): AVA CELESTE BENJAMIN               Case number:

            D. SURRENDER OF COLLATERAL:                         g) NONE

            E. DIRECT PAYMENTS                   g     NONE
IV.        TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                             □ NONE
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS^SV ATTORNEY’S FEE: □ NONE

                 1. Name: State of Florida - Department of Revenue, Bankruptcy

                 Payment Address: P.O. BOX 8045, Tallahassee, FL 32314

               Total Due:                  S1.813.64

                  Payable             $30.23   /month (Months     1 to 60 )

            B. INTERNAL REVENUE SERVICE:                      g NONE

            C.    DOMESTIC SUPPORT OBLIGATIONIS): g NONE

            D. OTHER: g NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                          □ NONE

                 A. Pay           $20.42        /month (Months     13    to 60 )

                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

                 B. n If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

                 C. SEPARATELY CLASSIFIED:                g NONE
VI.         STUDENT LOAN PROGRAM                       g NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                         g NONE
VIII        INCOME TAX RETURNS AND REFUNDS:

                   g Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.         NON-STANDARD PLAN PROVISIONS g NONE


                         PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

     I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.



                                                debtor                                                           Joint Debtor

 AVA CELESTE BENJAMf                                                                                                                    Date




                                                                Date
      Attorney with permission to sign on
      Debtor(s)' behalf who certifies that
       the contents of the plan have been
         reviewed and approved by the
                        Debtor(s).*


     By fi ling this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
     order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
     contains no nonstandard provisions other than those set out in paragraph IX.




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*This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Deblor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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